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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



                                        )
UNITED STATES OF AMERICA                )
                                        )
                                        )      Crim. No. 17-201 (ABJ/DAR)
                                        )
v.                                      )
                                        )
PAUL J. MANAFORT, JR., and              )
RICHARD W. GATES III,                   )
                                        )
       Defendants.                      )
                                        )
                                        )

                          NOTICE OF CHANGE OF ADDRESS

       PLEASE TAKE NOTICE that my mailing address, has changed effective immediately.

The new mailing address is:

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November 3, 2017                        Respectfully submitted,

                                          /s/ Thomas E. Zehnle
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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 3, 2017, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF System, which will send notice of such filing to the following

registered CM/ECF users:

       All counsel of record



                                                  / s/ Thomas E. Zehnle
